AO 106 (Rev. 04/10) Application for a Search Warrant

UNITED STATES DISTRICT COURT

for the
Eastern District of Wisconsin

In the Matter of the Search of:

Information from the Google Account associated with a
cellular telephone number 414-366-6778 and e-mail address
mindimilinkovichh@gmail.com.

18--36

Case No.

 

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under penalty of
perjury that I have reason to believe that on the following person or property:

See Attachment A

located in the Eastern District of Wisconsin, there is now concealed:

See Attachment B

The basis for the search under Fed. R. Crim P. 41(c) is:
ml evidence of a crime:
im contraband, fruits of crime, or other items illegally possessed;
i property designed for use, intended for use, or used in committing a crime;
| a person to be arrested or a person who is unlawfully restrained.

The search is related to violations of: Title 18, United States Code, 1951 (a)

The application is based on these facts: See attached affidavit.

LJ Delayed notice of days (give exact ending date if more than 30 days: } is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

if f 19)
Applicant's signature

TFO Ls Slomezewski, FBI
Printed Name and Title

Sworn to before me and signed in my presence: ah
Date: bb LZ, ZOI'P —

Judge's "| ture

 

City and State: Milwaukee, Wisconsin Honorable David E. Jones _U.S. Magistrate Judge
Case 2:18-mj-O0036-NJ Filed 02/22718” Pagérlat Lane Togiament 1
AFFIDAVIT IN SUPPORT OF
AN APPLICATION FOR A SEARCH WARRANT

I, Michael Slomczewski, being a federally sworn Task Force Officer with the

Federal Bureau of Investigation Robbery Task Force, hereby depose and state as follows:

INTRODUCTION AND AGENT BACKGROUND

1. I make this affidavit in support of an application for a search warrant for
information associated with a Google Account is stored at premises controlled by Google,
Inc., (“Google”) a provider of electronic communication service, located at 1600
Amphitheater Parkway, Mountain View, California 94043. The information to be
searched is described in the following paragraphs and in Attachment A. This affidavit is
made in support of an application for a search warrant under 18 U.S.C. §§ 2703(a),
2703(b)(1)(A) and 2703(c)(1)(A) to require Google to disclose to the government
information further described in Attachment B.

2. I am a federally deputized Task Force Officer (TFO) with the Federal
Bureau of Investigation (FBI). I have been a TFO with the FBI since 2016. I have been a
employed as a law enforcement officer with the Milwaukee Police Department for over
15 years. I have investigated bank robberies, business robberies, and carjackings, and also
have been involved in search warrants and interrogations regarding these various
offenses.

3. I have previously applied for and received search warrants related to the
crime of robbery and carjackings, as well as other crimes.

4. Information contained in this affidavit was either obtained directly by me

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or by other investigators who I believe to be truthful and credible. The facts in this
affidavit come from personal observations, training and experience, and information
obtained from other investigators and witnesses.

=F This affidavit is intended to show merely that there is sufficient probable
cause for the requested warrant and does not set forth all of my knowledge about this
matter.

6. Based on my training and experience and the facts as set forth in this
affidavit, there is probable cause to search the information described in Attachment A for
evidence as further described in Attachment B.

JURISDICTION

Ze This Court has jurisdiction to issue the requested warrant because it is “a
court of competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a),
(b)(1)(A) & (c)(1)(A). Specifically, the Court is “a district court of the United States...
that — has jurisdiction over the offense being investigated.” 18 U.S.C. § 2711(3)(A)(i).

8. Based on my training and experience and the facts as set forth in this
affidavit, there is probable cause to believe that Kent Thomas committed a violation of

Title 18, United States Code, 1951(a) (Hobbs Act Robbery). There is also probable cause

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to search the residence described in Attachment A for evidence of these crimes, as
described in Attachment B.
PROBABLE CAUSE

2. On November 5, 2017, the victim, D.H., parked her Nissan Rogue in the
alley behind her residence located at 4350 N. 18th St., Milwaukee. While she was exiting
her car, an armed suspect was dropped off by a person driving a black Lincoln MKZ. The
armed suspect approached D.H. and told her, “Give me your keys or you're going to get
shot.” The armed suspect then fired the handgun into the ground by D.H., and she was
struck in her face by the ricochet. The injury was superficial. The armed suspect got into
D.H.’s car, and then both the Nissan Rogue and the Lincoln MKZ drove away. MPD
recovered a gold colored Luger casing from the scene. The victim described the armed
suspect as a “very small man” and described the handgun as having an extended
magazine.

10. Video surveillance was recovered from a nearby residence showed the
suspect vehicle was a black Lincoln MKZ.

11. On November 6, 2017, members of the FBI Robbery Task Force located the
stolen Nissan Rogue and saw Kent Thomas enter that vehicle’s front passenger seat while
holding a handgun with an extended magazine. This handgun appeared similar to the
handgun described by the November 5 carjacking victim. Officers saw three other
individuals enter the vehicle with Thomas. When the officers attempted to traffic stop the

vehicle, all four individuals ran from the car and were arrested within close proximity to

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the vehicle. Officers recovered the handgun with the extended magazine from inside the
Rogue. The firearm is more fully described as a Taurus, 9mm semiautomatic pistol, with
an extended magazine, bearing serial number TKN82920. The magazine accepted 32
rounds of ammunition. Thomas was taken into custody on November 6, and he was in
possession of four cellphones, which were later examined. Thomas was charged in state
court, but was released on bail.

12. On November 7, 2017, Milwaukee Police Officer Russell Ewert, a Forensic
Technology Certified IBIS Technician, determined that casings from the handgun
possessed by Thomas matched the recovered casing from the Nawarihes 5 carjacking.

13. The FBI Robbery Task Force connected what appears to be the same black
Lincoln MKZ to a commercial business robbery on November 3, 2017, at Horizon Real
Estate, located on 2976 N. MLK Dr., Milwaukee, WI. After viewing the surveillance video
from this business robbery, I believe that the Lincoln MKZ used in the robbery appears
to be the same black Lincoln MKZ used in the carjacking on November 6, 2017.

14. On November 3, the Lincoln parked in front of Horizon Real Estate, and
two individuals exited the car. A masked individual entered the business armed with a
handgun (Suspect #1). Suspect #1 took money from an employee. The second suspect
(Suspect #2) held open the businesses’ front door while the armed suspect robbed the
employee. Suspect #2 was a black male wearing the following: (1) black pants with two
zippers on each thigh area, a zipper on the right pant leg, a zipper on the rear right pocket

area, and vertical zippers on the outside of each pant leg; (2) a green jacket with a circle

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insignia on the left breast area and a circle insignia on the right upper arm area; and (3)
black boots. Suspect #2 appeared to be a large individual with a similar body shape as
Kent Thomas who is 6’01” and weighs in excess of 300 lbs. After the robbery, both
suspects re-entered the Lincoln, which fled from the scene.

15. | A witness to this robbery observed the black Lincoln’s license plate, which
was 349-ZWT. The Lincoln was subsequently located by law enforcement agents on
December 6, 2017, at 4860 N. 48th Street. The vehicle was processed on December 7 for
fingerprints and DNA. On December 14, Kent Thomas’ fingerprints were identified on
two items that were inside of the vehicle.

16. | One of Thomas’ cellphones that was confiscated during his November 7
‘ arrest was a black Kyocera with number 414-366-6778, which was examined for its
historical cell tower data. Milwaukee County District Attorney’s Office Intelligence
Analyst Christina Malley analyzed the recovered cell tower data. For the November 3
robbery at Horizon Real Estate, it was determined that during the robbery, Thomas’
Kyocera cellphone was used in the same cell tower and sector as Horizon Real Estate.

17. | Thomas was arrested again on January 25, 2018, for a drug offense. During
a Mirandized statement, Thomas stated that he lives at 2804 N. 16th Street, Milwaukee.
Thomas admitted to possessing marijuana, but denied involvement in the robbery.
Thomas admitted the he has previously been inside of a black Lincoln.

18. On January 29, 2018, MPD executed a state search warrant at 2804 N. 16th

St. During a search of the residence, officers recovered clothing that appears to be same

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as the clothing worn by Suspect #2 during the November 3 robbery at Horizon Real
Estate: (1) black pants with two zippers on each thigh area, a zipper on the right pant leg,
a zipper on the rear right pocket area, and vertical zippers on the outside of cach pant
leg; and (2) black boots.

19. During the search warrant execution, agents interviewed Antwan L. King,
who stated that he is Kent Thomas’ brother. King said that Thomas resides with his
girlfriend in the area of N. 24th St. and W. Hampton Ave.

20. [| monitored jail calls made by Thomas while he was in custody following
his January 25 arrest. On January 30, Thomas placed four calls to telephone number 414-
676-8920. In the first call, Thomas spoke to a woman who he referred to as “Lashabra.”
In the second call, Thomas again spoke to Lashabra, and he told her to throw the ring in
the garbage. In the third call, Thomas again spoke to Lashabra. Lashabra informed
Thomas that her house was burglarized. ] checked the Milwaukee Police Database and
learned that a burglary did in fact occur at the address of 2334 W. Linwal Ln., Milwaukee.
The victim of the burglary was identified as Lashabra L. Owens. For the police report,
Lashabra Owens provided her contact number as 414-676-8920. In the fourth call, Thomas
told Lashabra Owens to check the dresser upstairs to make sure that his Sacial Security
card and wallet were still there. Thomas further told Lashabra Owens to check if his
watch was still there. Thomas also reminded Lashabra Owens that he “ain't supposed to

be over there.”

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21. Througha federal court order, agents received subscriber information, GPS,
and call data relating to a black Kyocera cellphone with bes 414-366-6778, which was
one of the cellphones that was confiscated from Thomas during his arrest on November
7, 2017. Milwaukee County District Attorney’s Office Intelligence Analyst Christina
Malley analyzed the recovered cell si data. For the November 3 robbery at Horizon
Real Estate, it was determined that during the robbery, Thomas’ Kyocera cellphone was
used in the same tower and sector as Horizon Real Estate.

22. The subscriber information showed the following Google email account
associated with this cellphone number: mindimilinkovichh@gmail.com. The subscriber
is Mindy Lynne Milinkovich and the address for the account is 3048 N. 59th Street,
Milwaukee. A search of this cellphone revealed multiple “selfie” photographs of Kent
Thomas and a picture of the front of the residence located at 3048 N. 59th Street,
Milwaukee.

BACKGROUND CONCERNING GOOGLE ACCOUNT INFORMATION

23. In my training and experience, I have learned that Google collects and
retains location data from enabled mobile devices. The company uses this information
for location based advertising and location based search results. Per Google, this
information is derived from Global Position System (GPS) data, cell site/cell tower
information, and Wi-Fi access points. While the specific parameters of when this data is

collected are not entirely clear, it appears that Google collects this data whenever one of

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their services is activated and/or whenever there is an event on the mobile device such
as a phone call, text messages, internet access, or e-mail access.

24. I believe this data will show the movements of Thomas’ mobile device
during the relevant time period, and will assist investigators with establishing patterns
of movement, the proximity of Thomas’ mobile device to the Horizon Real Estate robbery,
and other areas that may contain further evidence relevant to the ongoing criminal
investigation.

CONCLUSION

25. Based on the forgoing, I request that the Court issue the proposed lech
warrant. Because the warrant will be served on Google, who will then compile the
requested records at a time convenient to it, there exists reasonable cause to permit the

execution of the requested warrant at any time in the day or night.

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ATTACHMENT A

Property to Be Searched

Information from the Google Account associated with a cellular telephone number
414-366-6778 and e-mail address mindimilinkovichh@gmail.com., stored information at
premises owned, maintained, controlled, or operated by Google, a company

headquartered in Mountain View, California.

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ATTACHMENT B
Particular Things to be Seized
Location History-All location data whether derived from Global Positioning
System (GPS) data, cell site/cell tower triangulation/trilateration, precision
measurement information such as timing advance or per call measurement data, and Wi-
Fi location. Such data shall include the GPS coordinates and the dates and times of all

location recordings from the period November 1, 2017 to November 7, 2017.

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CERTIFICATE OF AUTHENTICITY OF DOMESTIC
BUSINESS RECORDS PURSUANT TO FEDERAL RULE
OF EVIDENCE 902(11)

L, , attest, under penalties of perjury under
the laws of the United States of America pursuant to 28 U.S.C. § 1746, that the information
contained in this declaration is true and correct. 1am employed by Google, Inc., and my
official title is . Lam a custodian of records for Google.
I state that each of the records attached hereto is the original record or a true duplicate of
the original record in the custody of Google, and that I am the custodian of the attached

records consisting of (pages/CDs/ kilobytes). I further state that:

a. all records attached to this certificate were made at or near the time of the
occurrence of the matter set forth, by, or from information transmitted by, a person with

knowledge of those matters;

b. such records were kept in the ordinary course of a regularly conducted

business activity of Google; and
c. such records were made by Google as a regular practice.

I further state that this certification is intended to satisfy Rule 902(11) of the

Federal Rules of Evidence.

 

Date Signature

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